 Case 2:15-cv-02047-JRG Document 36 Filed 02/26/16 Page 1 of 2 PageID #: 487




                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   MARSHALL DIVISION
SIERRA DUST CONTROL, L.L.C.                      §
                                                 §
        Plaintiff,                               §
                                                 §
                     v.                          §
                                                                No. 2:15-cv-2047-JRG
                                                 §
NEXT LEVEL ENERGY SERVICES,                      §
L.L.C.,                                          §
                                                 §
        Defendant.

                           JOINT MOTION TO STAY PENDING
                      FINALIZATION OF SETTLEMENT AGREEMENT

        Sierra Dust Control, L.L.C. (“Sierra”) and Next Level Energy Services, L.L.C. (“Next

Level”), respectfully submit this Joint Motion to Stay Pending Finalization of Settlement

Agreement and would show as follows.

        1.      On February 25, 2016, Sierra and Next Level participated in a mediation before Gil

Gillam, and as a result of such mediation the parties entered into an Agreement to resolve their

disputes.

        2.      Among other things, the Agreement provides that Sierra will not oppose Next

Level’s request to begin work on its next five dust control jobs for PetroMax, and those five jobs

only, which were identified by Wes Campbell in his testimony at the Contempt Hearing on

February 23, 2016. The first of these five dust control jobs is set to begin Monday, February 29,

2016.

        3.      Sierra and Next Level request that this action be stayed for 45 days pending

execution of the final settlement papers by the parties.

        4.      A proposed order memorializing the foregoing is attached.
 Case 2:15-cv-02047-JRG Document 36 Filed 02/26/16 Page 2 of 2 PageID #: 488




Dated: February 26, 2016                       Respectfully submitted,

                                               FISH & RICHARDSON P.C.



                                               By: /s/ Thomas M. Melsheimer
                                                   Thomas M. Melsheimer
                                                   Texas Bar No. 13922550
                                                   melsheimer@fr.com
                                                   M. Brett Johnson
                                                   Texas Bar No. 00790975
                                                   johnson@fr.com
                                                   Andrew T. Gorham
                                                   Texas Bar No. 24012715
                                                   gorham@fr.com
                                                   1717 Main Street, Suite
                                                   5000
                                                   Dallas, Texas 75201
                                                   Telephone: (214) 747-5071
                                                   Facsimile: (214) 747-2091

                                               Counsel for Plaintiff
                                               SIERRA DUST CONTROL,
                                               L.L.C.




                               CERTIFICATE OF SERVICE


       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document has been served on February 26, 2016, to all counsel of record who are deemed to have
consented to electronic service via the Court’s CM/ECF system per Local Rule CV-5(a)(3).


                                               By: /s/ Thomas M. Melsheimer
                                                   Thomas M. Melsheimer




                                              2
